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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division



STEVES AND SONS,               INC.

       Plaintiffs,

V.                                                     Civil Action No.            3:16CV545


JELD-WEN


       Defendant.
                                                JURY
                                      INITIAL PRETRIAL ORDER




       At a pretrial conference held on OCTOBER 19,                                     2016,       this

action was set for trial by a jury to begin on June 12, 2017, at

9:30 o'clock, a.m.                This matter is scheduled for two weeks.

       1.      The         Scheduling          Order     and    Pretrial               Schedule        A

previously issued in this action shall remain in effect.

       2.      A Final Pretrial Conference will be conducted on JUNE

5, 2017 at 10:00 o'clock, a.m..                       Counsel shall present for entry

a    Final    Pretrial           Order    setting      forth:        (A)    a    stipulation          of

undisputed facts;                (B) a     list and description of all exhibits,

marked       and    consecutively numbered,               intended          to    be    offered by

each party as to which there is no objection;                                    (C)    a    list and

description of all exhibits,                    marked and consecutively numbered,

intended       to     be       offered    by   each    party    as     to       which       there    are

objections and a                statement of      the particular grounds                     for each

objection;          (D)    a    list of all discovery material intended to be
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